          Case 1:21-cr-00287-TNM Document 48 Filed 01/24/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA,                   :
                                            :
                        v.                   : CR No. 1:21-CR-00287 (TNM)
KEVIN SEEFRIED,                              :
                                             :


                                   NOTICE OF FILING
        Undersigned counsel, on behalf of Kevin Seefried, respectfully submits the attached

letter for filing in the docket.


                                             Respectfully submitted,
                                             A.J. KRAMER
                                             FEDERAL PUBLIC DEFENDER


                                             ______/s/______________
                                             EUGENE OHM
                                             Assistant Federal Public Defender
                                             625 Indiana Ave., NW
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                                             Washington, DC 20004
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               Case 1:21-cr-00287-TNM Document 48 Filed 01/24/22 Page 2 of 3



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                                                  January 24, 2022

Brittany Reed
Assistant U.S. Attorney
Brittany.reed2@usdoj.gov

           Re:        United States v. Kevin Seefried, 21-287 (TNM)

Dear Ms. Reed:

           I am writing to follow up on my email to you dated January 14, 2022.

           As I mentioned, I am taking over Mr. Seefried’s case from Mr. Vanegas.

      I have been unable to find significant electronic discovery that you provided to Mr.
Vanegas.

           I have found the following documents:

           •     089B-WF-3376952_0000007_1A0000001_0000001.pdf
           •     089B-WF-3376952_0000009.pdf
           •     089B-WF-3376952_0000011.pdf
           •     089B-WF-3376952_0000013.pdf
           •     089B-WF-3376952_0000017_1A0000001_0000001.pdf
           •     A 302 from an interview with Kevin Seefried
           •     Photo of the Defendant

        I don’t have any additional documents. I also don’t have any case-specific videos. Could
you please send me the usafx link to all of the discovery thus far provided? And to the extent
there is additional discovery that has not yet been provided, could you please provide
everything? Please also add Montse Fernandez and Shirley Lewis to the invite. They are at
Montserrat_A_Fernandez@fd.org and Shirley_Lewis@fd.org.

           In addition, could you please inform me of the factual basis for the obstruction charge?

           Feel free to call me at 202 480-0434 if you have any questions.
Case 1:21-cr-00287-TNM Document 48 Filed 01/24/22 Page 3 of 3




                                 Thanks,




                                 Eugene Ohm
